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Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         JONATHON JOVAN WARD

Docket Number:                         1:03CR05368-03 AWI

Offender Address:                      Fresno, California

Judicial Officer:                      Honorable Anthony W. Ishii
                                       Chief United States District Judge
                                       Fresno, California

Original Sentence Date:                10/18/2004

Original Offense:                      18 USC 2113(a) and (d), Armed Bank Robbery
                                       (CLASS B FELONY)

Original Sentence:                     87 months custody Bureau of Prisons; 60 months supervised
                                       release; $100 special assessment; $2,127 restitution;
                                       mandatory drug testing

Special Conditions:                    1) Search; 2) No dissipation of assets; 3) Financial disclosure;
                                       4) Financial restrictions; 5) Drug/alcohol treatment; 6)
                                       Drug/alcohol testing; and 7) Aftercare co-payment

Type of Supervision:                   Supervised Release

Supervision Commenced:                 05/07/2012

Assistant U.S. Attorney:               Dawrence W. Rice Jr.                      Telephone: 559-497-4000

Defense Attorney (Appointed):          Salvatore Sciandra                        Telephone: 559-233-1000

Other Court Action:                    None




                                                                                                                 R ev. 02/2012
                                                                                   V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                                                                   (M O D IFIC A T IO N ).W P D
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RE:    Jonathon Jovan Ward
       Docket Number: 1:03CR05368-03 AWI
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:


       You shall participate in and successfully complete a mental health treatment
       program, which may include testing, evaluation, and/or outpatient counseling, as
       approved and directed by the probation office. You shall refrain from the use and
       possession of beer, wine, liquor, and other forms of intoxicants while participating
       in mental health treatment. Further, you shall be required to contribute to the costs
       of services for such treatment, as approved and directed by the probation office based
       upon your ability to pay.

Justification: Following release from the Bureau of Prisons, the supervisee established residency
in the District of Nevada. After reviewing his special conditions, it was recommended the supervisee
undergo a mental health evaluation due to an arrest that took place in January 1997, when he was
15-years old, to wit: Lewd Acts With a Child Under the Age of 14.          The supervisee's special
conditions do not include a mental health condition. As such, the probation officer for the District
of Nevada recommends that special conditions be modified to include mental health.                              The
supervisee offers no objection to the probation officer's recommendation and signed the Waiver of
Hearing to Modify Conditions of Supervised Release, which is attached.




                                                                                                         R ev. 02/2012
                                                                           V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                 2                                         (M O D IFIC A T IO N ).W P D
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RE:   Jonathon Jovan Ward
      Docket Number: 1:03CR05368-03 AWI
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                    Respectfully submitted,

                                       /s/ Jose T. Pulido

                                      JOSE T. PULIDO
                            Senior United States Probation Officer
                                  Telephone: (559) 499-5725

DATED:         October 12, 2012
               Fresno, California
               jtp


REVIEWED BY:          /s/ Hubert J. Alvarez
                      HUBERT J. ALVAREZ
                      Supervising United States Probation Officer




THE COURT ORDERS:

(X)   Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:


IT IS SO ORDERED.

Dated:   October 17, 2012
0m8i78                                        CHIEF UNITED STATES DISTRICT JUDGE

                                                                                                     R ev. 02/2012
                                                                       V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                               3                                       (M O D IFIC A T IO N ).W P D
